      8:22-cr-00380-HMH        Date Filed 05/24/22   Entry Number 18      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                             ANDERSON/GREENWOOD DIVISION


UNITED STATES OF AMERICA

              vs                                        CR NO. 8:22-380

PHILLIP ORLANDO COLEMAN




                                          PLEA

       The defendant, PHILLIP ORLANDO COLEMAN, having withdrawn his plea of Not

Guilty entered, pleads GUILTY to Count 1 of the Information.
                                 'ii»




Greenville, South Carolina
 M. C,ll    $,'I, tJ..D'J ~
